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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF MARYLAND

                                                 *
AMERICAN FEDERATION                              *
OF TEACHERS, et al.,                             *
                                                 *
                       Plaintiffs,               *
                                                 *        Civil Case No.: SAG-25-628
       v.                                        *
                                                 *
DEPARTMENT OF
EDUCATION, et al.,                               *
                                                 *
                       Defendants.               *
                                                 *
              *       *       *      *       *       *     *       *      *         *

                                             ORDER

       For the reasons stated in the accompanying memorandum opinion, it is this 24th day of

April, 2025, ordered that:

   1. The Certification Motion, ECF 37, is DENIED.

   2. The Letter Motion, ECF 31, is GRANTED IN PART and DENIED IN PART.

   3. The Dear Colleague Letter of February 14, 2025 is stayed pursuant to 5 U.S.C. § 705

       pending final resolution by this Court.

   4. The motions for leave to file amicus briefs, ECF 35, 45, are granted.

   5. The parties shall jointly propose a briefing schedule for summary judgment no later than

       Thursday, May 1, 2025.

                                                                     /s/
                                                     Stephanie A. Gallagher
                                                     United States District Judge
